                      Case 23-10831-MFW                 Doc 907         Filed 01/11/24         Page 1 of 7


                        UNITED STATES BANKRUPTCY COURT
                                 District of Delaware
                             824 Market Street, 3rd Floor
                                Wilmington, DE 19801

In Re:                                                     Chapter: 11
Lordstown Motors Corp.

 EIN: 83−2533239                                           Case No.: 23−10831−MFW
DiamondPeak Holdings Corp.
                                                           Claim No.* (if known): 757
                                                           Amount (if known): $63,946.22



                                      NOTICE OF TRANSFER OF CLAIM

To IEE S.A. Claimant/Transferor:

       YOU ARE HEREBY NOTIFIED that on 1/5/2024, a Transfer of Claim was filed with this Court purporting to
transfer to Cedar Glade LP, Transferee, a claim previously filed by you.

       Any objection to this Transfer must be in writing and filed with the Clerk at the address below within (21) days
of the date of this Notice, and a copy served on the Transferee. If no objection is timely received by the Court, the
Transferee will be substituted as the original claimant without further order of the Court.

Clerk of Court                                     Transferee
United States Bankruptcy Court                     Cedar Glade LP
District of Delaware                               600 Madison Avenue, 17th Floor
824 Market Street                                  New York, NY 10022
Wilmington, DE 19801                               Attn: Robert K. Minkoff, President




Dated: 1/11/2024

                                                                           Una O'Boyle, Clerk of Court


*Claim no. as assigned by the Court, which may be different from the claim no. as assigned by the Trustee.
                              Case 23-10831-MFW                      Doc 907           Filed 01/11/24              Page 2 of 7
                                                              United States Bankruptcy Court
                                                                   District of Delaware
In re:                                                                                                               Case No. 23-10831-MFW
Lordstown Motors Corp.                                                                                               Chapter 11
       Debtor
                                                    CERTIFICATE OF NOTICE
District/off: 0311-1                                                 User: admin                                                          Page 1 of 6
Date Rcvd: Jan 09, 2024                                              Form ID: trclaim                                                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jan 11, 2024:
Recip ID                  Recipient Name and Address
18766795                  IEE S.A., 12 Rue Pierre Richardot, Zone Industriel, Echternach, L-6488, Luxembourg

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                     NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jan 11, 2024                                           Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on January 9, 2024 at the address(es) listed
below:
Name                              Email Address
A.J. Webb
                                  on behalf of Creditor Marelli North America Inc. awebb@fbtlaw.com, awebb@ecf.courtdrive.com

Albert Kass
                                  on behalf of Claims Agent Kurtzman Carson Consultants LLC ECFpleadings@kccllc.com ecfpleadings@kccllc.com

Amish R. Doshi
                                  on behalf of Creditor Oracle America Inc. amish@doshilegal.com

Andrew Behlmann
                                  on behalf of Interested Party George Troicky aBehlmann@lowenstein.com

Andrew Blake Still
                                  on behalf of Creditor Applied Medical Resources Corp. astill@swlaw.com kcollins@swlaw.com

Benjamin A. Hackman
                                  on behalf of U.S. Trustee U.S. Trustee benjamin.a.hackman@usdoj.gov

Bennett Silverberg
                                  on behalf of Creditor Committee Official Committee of Equity Security Holders
                                  hcohen@brownrudnick.com;msoliman@brownrudnick.com;tburns@brownrudnick.com

Brya Michele Keilson
                         Case 23-10831-MFW                  Doc 907           Filed 01/11/24             Page 3 of 7
District/off: 0311-1                                         User: admin                                                             Page 2 of 6
Date Rcvd: Jan 09, 2024                                      Form ID: trclaim                                                       Total Noticed: 1
                           on behalf of Creditor Committee Official Committee of Equity Security Holders bkeilson@morrisjames.com
                           ddepta@morrisjames.com;slisko@morrisjames.com

Christopher A. Ward
                           on behalf of Creditor Logicalis Inc. cward@polsinelli.com, LSuprum@Polsinelli.com;delawaredocketing@polsinelli.com

Christopher Page Simon
                           on behalf of Interested Party George Troicky csimon@crosslaw.com smacdonald@crosslaw.com

Daniel Guyder
                           on behalf of Interested Party Foxconn Ventures Pte. Ltd. daniel.guyder@allenovery.com

Daniel Guyder
                           on behalf of Interested Party Foxconn Ltd. (Far East) daniel.guyder@allenovery.com

Daniel Guyder
                           on behalf of Interested Party Foxconn EV System LLC daniel.guyder@allenovery.com

Daniel Guyder
                           on behalf of Interested Party Foxconn EV Property Development LLC daniel.guyder@allenovery.com

Daniel Guyder
                           on behalf of Interested Party Foxconn EV Technology Inc. daniel.guyder@allenovery.com

Daniel Guyder
                           on behalf of Interested Party Hon Hai Precision Industry Co. Ltd. (a/k/a Hon Hai Technology Group)
                           daniel.guyder@allenovery.com

Daniel J. DeFranceschi
                           on behalf of Debtor Lordstown EV Corporation defranceschi@rlf.com
                           RBGroup@rlf.com;ann-jerominski-2390@ecf.pacerpro.com

Daniel J. DeFranceschi
                           on behalf of Debtor Lordstown EV Sales LLC defranceschi@rlf.com RBGroup@rlf.com;ann-jerominski-2390@ecf.pacerpro.com

David M. Fournier
                           on behalf of Creditor Committee Official Committee of Unsecured Creditors david.fournier@troutman.com
                           wlbank@troutman.com;David.A.Smith@troutman.com;Monica.Molitor@troutman.com;Peggianne.Hardin@troutman.com

David W. Baddley
                           on behalf of Creditor U.S. Securities and Exchange Commission baddleyd@sec.gov

Domenic E. Pacitti
                           on behalf of Creditor Workhorse Group Inc. dpacitti@klehr.com

Donald J. Detweiler
                           on behalf of Plaintiff Lordstown Motors Corp. don.detweiler@wbd-us.com liz.thomas@wbd-us.com;cindy.giobbe@wbd-us.com

Donald J. Detweiler
                           on behalf of Plaintiff Lordstown EV Corporation don.detweiler@wbd-us.com
                           liz.thomas@wbd-us.com;cindy.giobbe@wbd-us.com

Donald J. Detweiler
                           on behalf of Plaintiff Lordstown EV Sales LLC don.detweiler@wbd-us.com liz.thomas@wbd-us.com;cindy.giobbe@wbd-us.com

Donald J. Detweiler
                           on behalf of Debtor Lordstown Motors Corp. don.detweiler@wbd-us.com liz.thomas@wbd-us.com;cindy.giobbe@wbd-us.com

Donna L. Culver
                           on behalf of Interested Party Foxconn Ventures Pte. Ltd. dculver@morrisnichols.com

Donna L. Culver
                           on behalf of Interested Party Hon Hai Precision Industry Co. Ltd. (a/k/a Hon Hai Technology Group) dculver@morrisnichols.com

Donna L. Culver
                           on behalf of Interested Party Foxconn Ltd. (Far East) dculver@morrisnichols.com

Donna L. Culver
                           on behalf of Interested Party Foxconn EV Technology Inc. dculver@morrisnichols.com

Donna L. Culver
                           on behalf of Interested Party Foxconn EV System LLC dculver@morrisnichols.com

Donna L. Culver
                           on behalf of Interested Party Foxconn EV Property Development LLC dculver@morrisnichols.com

Edward Michael King
                           on behalf of Creditor Akebono Brake Corporation tking@fbtlaw.com tking@ecf.insoruptcy.com

Ellen Slights
                           on behalf of Creditor United States/USAO usade.ecfbankruptcy@usdoj.gov

Eric J. Monzo
                              Case 23-10831-MFW                   Doc 907           Filed 01/11/24             Page 4 of 7
District/off: 0311-1                                              User: admin                                                                Page 3 of 6
Date Rcvd: Jan 09, 2024                                           Form ID: trclaim                                                          Total Noticed: 1
                                on behalf of Creditor Committee Official Committee of Equity Security Holders emonzo@morrisjames.com
                                ddepta@morrisjames.com;slisko@morrisjames.com

Evan T. Miller
                                on behalf of Interested Party Harco Manufacturing Group LLC evan.miller@saul.com, robyn.warren@saul.com

Francis J. Lawall
                                on behalf of Creditor Committee Official Committee of Unsecured Creditors francis.lawall@troutman.com
                                susan.henry@troutman.com

Garvan F. McDaniel
                                on behalf of Creditor Joshua Strickland gfmcdaniel@dkhogan.com gdurstein@dkhogan.com

Garvan F. McDaniel
                                on behalf of Creditor Andrew Strickland gfmcdaniel@dkhogan.com gdurstein@dkhogan.com

Heather L. Donald
                                on behalf of Creditor State of Michigan Department of Treasury donaldh@michigan.gov

James E. Huggett
                                on behalf of Creditor Oracle America Inc. jhuggett@margolisedelstein.com,
                                tyeager@margolisedelstein.com;csmith@margolisedelstein.com;Miller.GeorgetteR50524@notify.bestcase.com;SmithCR50524@
                                notify.bestcase.com

Jason M. Madron
                                on behalf of Debtor Lordstown EV Sales LLC madron@rlf.com rbgroup@rlf.com;ann-jerominski-2390@ecf.pacerpro.com

Jason M. Madron
                                on behalf of Debtor Lordstown EV Corporation madron@rlf.com rbgroup@rlf.com;ann-jerominski-2390@ecf.pacerpro.com

Jeffrey C. Wisler
                                on behalf of Creditor Cigna Health and Life Insurance Company jwisler@connollygallagher.com

Jennifer R. Hoover
                                on behalf of Interested Party Adam Kroll jhoover@beneschlaw.com docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Jennifer R. Hoover
                                on behalf of Interested Party Edward Hightower jhoover@beneschlaw.com
                                docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Joseph Badtke-Berkow
                                on behalf of Interested Party Foxconn Ltd. (Far East) joseph.badtke-berkow@allenovery.com
                                josh.neifeld@allenovery.com;katie.crispi@allenovery.com

Joseph Badtke-Berkow
                                on behalf of Interested Party Foxconn Ventures Pte. Ltd. joseph.badtke-berkow@allenovery.com
                                josh.neifeld@allenovery.com;katie.crispi@allenovery.com

Joseph Badtke-Berkow
                                on behalf of Interested Party Hon Hai Precision Industry Co. Ltd. (a/k/a Hon Hai Technology Group)
                                joseph.badtke-berkow@allenovery.com, josh.neifeld@allenovery.com;katie.crispi@allenovery.com

Joseph Badtke-Berkow
                                on behalf of Interested Party Foxconn EV System LLC joseph.badtke-berkow@allenovery.com
                                josh.neifeld@allenovery.com;katie.crispi@allenovery.com

Joseph Badtke-Berkow
                                on behalf of Interested Party Foxconn EV Property Development LLC joseph.badtke-berkow@allenovery.com
                                josh.neifeld@allenovery.com;katie.crispi@allenovery.com

Joseph Badtke-Berkow
                                on behalf of Interested Party Foxconn EV Technology Inc. joseph.badtke-berkow@allenovery.com,
                                josh.neifeld@allenovery.com;katie.crispi@allenovery.com

Joseph Charles Barsalona II
                                on behalf of Defendant BENJAMIN HEBERT jbarsalona@pashmanstein.com joseph--barsalona-5332@ecf.pacerpro.com

Joseph Charles Barsalona II
                                on behalf of Defendant ATRI AMIN jbarsalona@pashmanstein.com joseph--barsalona-5332@ecf.pacerpro.com

Joseph Charles Barsalona II
                                on behalf of Interested Party Benjamin Hebert and Atri Amin on behalf of themselves and similarly situated stockholders of
                                Lordstown Motors Corp. f/k/a DiamondPeak Holdings Corp. jbarsalona@pashmanstein.com
                                joseph--barsalona-5332@ecf.pacerpro.com

Joseph O. Larkin
                                on behalf of Interested Party LAS Capital LLC Joseph.Larkin@skadden.com
                                Christopher.heaney@skadden.com;ecf-7f0a8f590dc1@ecf.pacerpro.com;andrea.bates@skadden.com

Kevin Gross
                                on behalf of Debtor Lordstown EV Corporation gross@rlf.com rbgroup@rlf.com;ann-jerominski-2390@ecf.pacerpro.com

Kevin Gross
                          Case 23-10831-MFW                    Doc 907         Filed 01/11/24           Page 5 of 7
District/off: 0311-1                                           User: admin                                                        Page 4 of 6
Date Rcvd: Jan 09, 2024                                        Form ID: trclaim                                                  Total Noticed: 1
                               on behalf of Debtor Lordstown EV Sales LLC gross@rlf.com rbgroup@rlf.com;ann-jerominski-2390@ecf.pacerpro.com

Kurtzman Carson Consultants LLC
                               info@kccllc.com ecfpleadings@kccllc.com

Marc N. Swanson
                               on behalf of Creditor GAC R&D Center Silicon Valley Inc. swansonm@millercanfield.com,
                               Baxter@millercanfield.com,wysocki@millercanfield.com

Matthew B. Harvey
                               on behalf of Interested Party Foxconn EV Technology Inc. mharvey@morrisnichols.com,
                               matt-harvey-8145@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlawre
                               nce@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew B. Harvey
                               on behalf of Interested Party Foxconn EV System LLC mharvey@morrisnichols.com
                               matt-harvey-8145@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlawre
                               nce@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew B. Harvey
                               on behalf of Interested Party Foxconn Ventures Pte. Ltd. mharvey@morrisnichols.com
                               matt-harvey-8145@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlawre
                               nce@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew B. Harvey
                               on behalf of Interested Party Hon Hai Precision Industry Co. Ltd. (a/k/a Hon Hai Technology Group)
                               mharvey@morrisnichols.com,
                               matt-harvey-8145@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlawre
                               nce@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew B. Harvey
                               on behalf of Interested Party Foxconn Ltd. (Far East) mharvey@morrisnichols.com
                               matt-harvey-8145@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlawre
                               nce@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew B. Harvey
                               on behalf of Interested Party Foxconn EV Property Development LLC mharvey@morrisnichols.com
                               matt-harvey-8145@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlawre
                               nce@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Interested Party Foxconn EV System LLC mtalmo@mnat.com
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                               wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Interested Party Foxconn EV Technology Inc. mtalmo@mnat.com,
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                               wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Defendant Foxconn EV Technology Inc. mtalmo@mnat.com,
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                               wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Defendant Hon Hai Precision Industry Co. Ltd mtalmo@mnat.com,
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                               wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Defendant Foxconn (Far East) Limited mtalmo@mnat.com
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                               wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Interested Party Hon Hai Precision Industry Co. Ltd. (a/k/a Hon Hai Technology Group) mtalmo@mnat.com,
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                               wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Interested Party Foxconn EV Property Development LLC mtalmo@mnat.com
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                               wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Interested Party Foxconn Ltd. (Far East) mtalmo@mnat.com
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                               wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                               on behalf of Defendant Foxconn EV System LLC mtalmo@mnat.com
                               matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                      Case 23-10831-MFW                    Doc 907          Filed 01/11/24               Page 6 of 7
District/off: 0311-1                                       User: admin                                                       Page 5 of 6
Date Rcvd: Jan 09, 2024                                    Form ID: trclaim                                                 Total Noticed: 1
                          wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                          on behalf of Interested Party Foxconn Ventures Pte. Ltd. mtalmo@mnat.com
                          matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                          wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                          on behalf of Defendant Foxconn Ventures Pte. Ltd. mtalmo@mnat.com
                          matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                          wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew O Talmo
                          on behalf of Debtor Lordstown Motors Corp. mtalmo@mnat.com
                          matthew-talmo-2348@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jla
                          wrence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Matthew P. Austria
                          on behalf of Creditor Applied Medical Resources Corp. maustria@austriallc.com

Michael Seth Etkin
                          on behalf of Interested Party George Troicky metkin@lowenstein.com

Morgan L. Patterson
                          on behalf of Plaintiff Lordstown EV Sales LLC morgan.patterson@wbd-us.com
                          Heidi.sasso@wbd-us.com;liz.thomas@wbd-us.com;cindy.giobbe@wbd-us.com

Morgan L. Patterson
                          on behalf of Debtor Lordstown Motors Corp. morgan.patterson@wbd-us.com
                          Heidi.sasso@wbd-us.com;liz.thomas@wbd-us.com;cindy.giobbe@wbd-us.com

Morgan L. Patterson
                          on behalf of Plaintiff Lordstown EV Corporation morgan.patterson@wbd-us.com
                          Heidi.sasso@wbd-us.com;liz.thomas@wbd-us.com;cindy.giobbe@wbd-us.com

Morgan L. Patterson
                          on behalf of Plaintiff Lordstown Motors Corp. morgan.patterson@wbd-us.com
                          Heidi.sasso@wbd-us.com;liz.thomas@wbd-us.com;cindy.giobbe@wbd-us.com

Rahul Singh
                          sonuram@aol.com

Reliable Companies
                          gmatthews@reliable-co.com

Robert J. Dehney
                          on behalf of Interested Party Foxconn Ltd. (Far East) rdehney@morrisnichols.com
                          robert-dehney-4464@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlaw
                          rence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Robert J. Dehney
                          on behalf of Interested Party Foxconn EV Technology Inc. rdehney@morrisnichols.com,
                          robert-dehney-4464@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlaw
                          rence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Robert J. Dehney
                          on behalf of Interested Party Hon Hai Precision Industry Co. Ltd. (a/k/a Hon Hai Technology Group)
                          rdehney@morrisnichols.com,
                          robert-dehney-4464@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlaw
                          rence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Robert J. Dehney
                          on behalf of Interested Party Foxconn EV Property Development LLC rdehney@morrisnichols.com
                          robert-dehney-4464@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlaw
                          rence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Robert J. Dehney
                          on behalf of Interested Party Foxconn EV System LLC rdehney@morrisnichols.com
                          robert-dehney-4464@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlaw
                          rence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Robert J. Dehney
                          on behalf of Interested Party Foxconn Ventures Pte. Ltd. rdehney@morrisnichols.com
                          robert-dehney-4464@ecf.pacerpro.com;brendan-cornely-7012@ecf.pacerpro.com;rebecca-weidman-3578@ecf.pacerpro.com;jlaw
                          rence@morrisnichols.com;john-lawrence-0804@ecf.pacerpro.com

Roberto J Kampfner
                          on behalf of Debtor Lordstown Motors Corp. rkampfner@whitecase.com amackintosh@whitecase.com

Sarah Eichenberger
                          on behalf of Interested Party Edward Hightower sarah.eichenberger@katten.com

Sarah Eichenberger
                        Case 23-10831-MFW                  Doc 907           Filed 01/11/24            Page 7 of 7
District/off: 0311-1                                       User: admin                                                              Page 6 of 6
Date Rcvd: Jan 09, 2024                                    Form ID: trclaim                                                        Total Noticed: 1
                          on behalf of Interested Party Adam Kroll sarah.eichenberger@katten.com

Schuyler G. Carroll
                          on behalf of Creditor Cedar Glade LP scarroll@loeb.com fmckeown@loeb.com

Scott Cargill
                          on behalf of Interested Party George Troicky scargill@lowenstein.com

Sean Matthew Beach
                          on behalf of Interested Party Darren Post Steve Burns, John LaFleur, and Rich Schmidt bankfilings@ycst.com

Shawn M. Christianson
                          on behalf of Creditor Oracle America Inc. schristianson@buchalter.com, cmcintire@buchalter.com

Simon E. Fraser
                          on behalf of Interested Party Nexteer Automotive Corporation sfraser@cozen.com
                          sshidner@cozen.com;simon-fraser-1269@ecf.pacerpro.com

Stephen Della Penna
                          on behalf of Interested Party LAS Capital LLC stephen.dellapenna@skadden.com
                          Christopher.heaney@skadden.com;stephen-della-penna-6290@ecf.pacerpro.com;andrea.bates@skadden.com

Stephen B. Grow
                          on behalf of Creditor Elaphe Propulsion Technologies Ltd. sgrow@wnj.com bpowers@wnj.com

Steven Walsh
                          on behalf of Interested Party Edward Hightower SWalsh@beneschlaw.com
                          docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Steven Walsh
                          on behalf of Interested Party Adam Kroll SWalsh@beneschlaw.com docket2@beneschlaw.com;lmolinaro@beneschlaw.com

Thomas E Lauria
                          on behalf of Debtor Lordstown Motors Corp. tlauria@whitecase.com mco@whitecase.com;jdisanti@whitecase.com

Tori Lynn Remington
                          on behalf of Creditor Committee Official Committee of Unsecured Creditors tori.remington@troutman.com
                          wlbank@troutman.com;Monica.Molitor@troutman.com

Tristan E Manthey
                          on behalf of Creditor Joshua Strickland tmanthey@fishmanhaygood.com
                          kfritscher@fishmanhaygood.com;dbush@fishmanhaygood.com

Tristan E Manthey
                          on behalf of Creditor Andrew Strickland tmanthey@fishmanhaygood.com
                          kfritscher@fishmanhaygood.com;dbush@fishmanhaygood.com

U.S. Trustee
                          USTPRegion03.WL.ECF@USDOJ.GOV

William A. Hazeltine
                          on behalf of Creditor Elaphe Propulsion Technologies Ltd. whazeltine@sha-llc.com


TOTAL: 109
